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IN THE UNITED STATES DISTRICT COURT hLED BY .\!€_‘_/-D-c-
FOR 'I'HE WESTERN DIS'I'RICT OF TENNESSEE
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JIM L. TOWNSEND, X
X
Petitioner, X
X
vs. X No. 05-2508-D/P
X
PAUL G. SUMMERS, et al., X
X
Respondents. X
X

 

ORDER DIRECTING PETITIONER TO FILE AN _I__N FORM.A PAUPERIS AFFIDAVIT
OR PAY THE HABEAS FILING FEE

 

Petitioner Jim L. Townsend, Bureau of Prisons inmate

registration number 13003-076, an inmate at the Federal
Correctional Institution in Memphis (“FCI-Memphis”), filed a pro §§

petition pursuant to 28 U.S.C. § 2254 on July 15, 2005. The Clerk
shall record the respondents as Tennessee Attorney General Paul G.
Summers and FCI~Memphis Warden T.C. Outlaw.

A habeas petition carries a filing fee of five dollars
($5.00). 28 U.S.C. § l9l4(a). Townsend's petition is not
accompanied by either the filing fee or a motion to proceed in
§Q;ma pauperis. Accordingly, Townsend is ORDERED either to submit
a properly completed in ;Q;ma pauperis affidavit demonstrating his
indigency, along with an inmate trust fund account statement, or

pay the filing fee thirty O) days of the entry of this order.

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The Clerk is ORDERED to mail a copy of the prisoner in fgrma
pauperis affidavit to petitioner along with this order.1 Failure to
timely comply with any requirement of this order will result in
dismissal of the petition without further notice for failure to
prosecute.

IT Is so oRDERED this 23 day of July, 2005.

 

UN ED STATES DISTRICT JUDGE

 

1 In the interest of expediting this matter, petitioner is advised
that, if his inmate trust fund account has a balance of at least twenty-five
dollars ($25.00), an application to proceed in forma pauperis will be denied.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case 2:05-CV-02508 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

J im L. ToWsend
FCI-l\/[El\/[PH[S
13003-076

P.O. Box 34550
l\/lemphis7 TN 38184

Honorable Bernice Donald
US DISTRICT COURT

